           Case 1:21-cr-00233-CJN Document 63 Filed 05/05/23 Page 1 of 2




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,

      v.                                              Criminal Action No. 1:21-cr-00233 (CJN)

WILLIAM ROBERT NORWOOD, III,

              Defendant.


                                             ORDER

       Upon consideration of Defendant’s Motion to Modify Conditions of Pretrial Release, ECF

No. 57, and for the reasons stated at the May 5, 2023 hearing, it is ORDERED that the Motion is

GRANTED IN PART and DENIED IN PART. The Court’s Order Setting Conditions of

Release, ECF No. 52, is modified as follows:

       1. Defendant is restricted to his residence at all times except for employment; education;

           religious services; medical, substance abuse, or mental health treatment; attorney visits;

           court appearances; court-ordered obligations; or other activities approved in advance

           by the pretrial services office or supervising officer; and

       2. Defendant is prohibited from phone and internet use except for purposes relating to

           work or education, for court appearances, or to communicate with his attorney and the

           Supervision Office.

       All other release conditions in the Court’s Order Setting Conditions of Release—including

GPS location monitoring and the requirement that Defendant avoid all contact with any person

who may be a witness in the investigation or prosecution—shall remain in effect.

It is SO ORDERED.




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       Case 1:21-cr-00233-CJN Document 63 Filed 05/05/23 Page 2 of 2




DATE: May 5, 2023
                                              CARL J. NICHOLS
                                              United States District Judge




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